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                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF NEVADA

ORACLE USA, INC., a Colorado corporation;              Case No. 2:10-cv-0106-LRH-VCF
ORACLE AMERICA, INC., a Delaware
corporation; and ORACLE INTERNATIONAL                  FED. R. PROPOSED]
                                                       [JOINT  CIV. P. 58 FED. R. CIV. P.
CORPORATION, a California corporation,                 58 FINAL  JUDGMENT
                                                       FINAL JUDGMENT     IN IN A CIVIL
                                                                             A CIVIL ACTION
                                                       ACTION
                                                       IN A CIVIL ACTION
               Plaintiffs,

       v.

RIMINI STREET, INC., a Nevada corporation;
AND SETH RAVIN, an individual,
               Defendants.

       Whereas this action was tried by a jury with the Hon. Larry R. Hicks presiding, and the

jury rendered a verdict on October 13, 2015, and whereas further matters were heard by Judge

Hicks and a decision was rendered on September 21, 2016, it is hereby ORDERED,

ADJUDGED, and DECREED:

       That Defendant Rimini Street, Inc. shall pay Plaintiff Oracle International Corporation
                 58,299,437.61
                58,299,437.61
the amount of $_________________
               ________________  (representing $35,600,000 plus $22,691,741.52 in

prejudgment interest through October 17, 2016 plus $7,696.36 for each additional day after

October 17, 2016 until judgment is entered);

       That Defendants Rimini Street, Inc. and Seth Ravin shall pay Plaintiff Oracle
                                          7,671,846.99
International Corporation the amount of $_________________ (representing $5,600,000 plus

$2,071,005.46 in prejudgment interest through October 17, 2016 plus $841.53 for each

additional day after October 17, 2016 until judgment is entered);

       That Defendants Rimini Street, Inc. and Seth Ravin shall pay Plaintiff Oracle America,
                     12,092,748.86
Inc. the amount of $_________________ (representing $8,827,000 plus $3,264,422.40 in

prejudgment interest through October 17, 2016 plus $1,326.46 for each additional day after

October 17, 2016 until judgment is entered);

       That Defendants Rimini Street, Inc. and Seth Ravin shall pay Plaintiffs Oracle America,


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Inc., and Oracle International Corporation attorneys’ fees and costs in the amount of

$46,227,363.36;

       That Defendants Rimini Street, Inc. and Seth Ravin shall pay postjudgment interest on all

amounts specified herein at the rate described in 28 U.S.C. § 1961 from the date of entry through

the date of payment; and,

       That Defendants Rimini Street, Inc. and Seth Ravin are enjoined in accordance with the

permanent injunction set forth at ECF No. 1065.

       SO ORDERED.


DATED
Date:    this 18th day of October, 2016.
      _________________________             LANCE
                                            CLERKS.
                                                  OFWILSON,
                                                     COURT CLERK


                                                            /s/
                                             Signature
                                             BY:       of Clerk
                                                  Deputy  Clerk or Deputy Clerk




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                   [JOINT PROPOSED] JUDGMENT IN A CIVIL ACTION
